544 U.S. 959
    AMERICAN TRUCKING ASSNS., INC., ET AL.v.MICHIGAN PUBLIC SERVICE COMMISSION ET AL.
    No. 03-1230.
    Supreme Court of United States.
    April 4, 2005.
    
      1
      Ct. App. Mich. [Certiorari granted, 543 U. S. 1086 and 1096.] Motion of the Acting Solicitor General for leave to participate in oral argument as amicus curiae granted. Motion of petitioners to deconsolidate the cases or, in the alternative, for an enlargement of time for oral argument denied. Motions for divided argument granted to be divided as follows: 15 minutes for petitioners in No. 03-1230; 10 minutes for petitioners in No. 03-1234; 25 minutes for respondents; and 10 minutes for United States.
    
    